                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

DEMOCRATIC EXECUTIVE
COMMITTEE OF FLORIDA, AND BILL
NELSON FOR U.S. SENATE,
     Plaintiffs,
                                                Case No. 4:18-CV-00520-MW-MJF
v.
KENNETH DETZNER, in his official
capacity as the Florida Secretary of State,
     Defendant.

             SECRETARY’S SECOND NOTICE OF COMPLIANCE

        The Florida Secretary of State, consistent with the Court’s November 15,

2018 Order, gives this second notice of compliance, as reflected in more recent

directive transmitted to the State’s supervisors of elections.
                            Respectfully submitted by:

                            BRADLEY R. MCVAY (FBN 79034)
                              Interim General Counsel
                             brad.mcvay@dos.myflorida.com
                            ASHLEY E. DAVIS (FBN 48032)
                             Deputy General Counsel
                             ashley.davis@dos.myflorida.com
                            FLORIDA DEPARTMENT OF STATE
                            R.A. Gray Building Suite, 100
                            500 South Bronough Street
                            Tallahassee, Florida 32399-0250
                            (850) 245-6536 / (850) 245-6127 (fax)

                            /s/ Mohammad O. Jazil
                            MOHAMMAD O. JAZIL (FBN 72556)
                              mjazil@hgslaw.com
                            GARY V. PERKO (FBN 855898)
                              gperko@hgslaw.com
                            MALCOLM N. MEANS (FBN 0127586)
                              mmeans@hgslaw.com
                            HOPPING GREEN & SAMS, P.A.
                            119 South Monroe Street, Suite 300
                            Tallahassee, Florida 32301
                            (850) 222-7500 / (850) 224-8551 (fax)

Dated: November 15, 2018.   Counsel for the Secretary of State
                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was

served via electronic mail through the Court’s CM/ECF system to all counsel of

record on this 15th day of November, 2018.

                                    /s/ Mohammad O. Jazil
                                    Attorney




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